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                 EXHIBIT B-048
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                                                                                       FILED IN OFFICE\

                                                                                            All
                     IN THE SUPERIOR COURT 20F FULTON COUNTY
                                                                                       DE     CLER      '
                                                                                                            ER DR COURT
                                                                                            FULTON co       w GA
                                      STATE 0F GEORGIA
IN RE:                                         )
                                               )       2022-EX—000024
SPECIAL PURPOSE GRAND JURY                     )
                                               )        Judge Robert C. I. McBurney
                                               )


                    MOTION FOR LEAVE TO FILE UNDER SEAL
                 PURSUANT TO UNIFORM SUPERIOR COURT RULE 21


         COMES NOW the State of Georgia, by and through undersigned counsel, and moves this

coult for leave to ﬁle a éubsequent motion uhder seal pursuant to Uniform Superior Court Rule 21,

and in support says as follows:


         1) The State submits that the ﬁling contains sel‘nsitive information, the public disclosure

            of which would cause certain harm to the priivacy of persons in interest that clearly

            outweighs the public’s interest in disclosure.

         2) The State requests that the ﬁling, any subsetluent pleading related to the ﬁling made

            by any party, any subsequent order of the            related to the ﬁling, and any other
                                                        Clourt
            item which may be made part of the record              time related to the ﬁling including
                                                         Sat any


            any document or other thing admitted as evidence in any subsequent hearing related

            to the ﬁling, be sealed in their entirety unless and until such time that the Court enters

            a further order unsealing them.
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fit.




       3) Fuﬂher, should the Court hold a hearing on this matter, the State respectﬁllly requests

          that the hearing be held in camera and that only the interested parties and their

          counsel be in attendance due to the sensitive nature of the request.

       Respectfully submitted this the 1st day of August, 2022,

                                                    FANI T. WILLIS
                                                    DISTRICT ATTO                Y



                                                                             410684
                                                    De    y District Attorney
                                                    Wily/oogéxﬂﬁlx/No.
                                                    Atlanta Judicial Circuit
                                                     136 Pryor Street Southwest
                                                    Third Floor
                                                    Atlanta, Georgia 30303
      Case 1:23-cv-03721-SCJ Document 1-58 Filed 08/21/23 Page 4 of 4




                                CERTIFICATE OF SERVICE
       I hereby certify that a copy of the foregoing Motion for Leave to File Under Seal
Pursuant to Uniform Superior Court Rule 21 has been served upon Holly A. Pierson and
Kimberly Bourroughs Debrow, counsel for the persons in interest, via electronic mail, this the
lst day of August, 2022,




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                                                    Winw /ot K,“ K! 1% 410684
                                                    Deputy 'stri t Attorney
                                                    Atlanta Judicial Circuit
                                                    136 Pryor Street Southwest
                                                    Third Floor
                                                    Atlanta, Georgia 30303.
